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                              IN THE UNITED STATES BANUPTCY COURT

                                     FOR THE DISTRICT OF DELAWAR


In re:                                                       )        Chapter 1 1
                                                             )
W.R. GRACE & CO., et al.,l                                   )        Case No. 01-1139 (JKF)
                                                             )        (Jointly Administered)
                               Debtors.                      )
                                                                 Objection Deadline: February 5, 2010 at 4:00 p.m.
                                                                    Hearing Date: February 16, 2010 at 10:30 a.m.

NOTICE OF DEBTORS' MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE
  DEBTORS TO (A) ENTER INTO EXIT FINANCING ENGAGEMENT LETTERS;
   (B) PAY CERTAIN FEES AND EXPENSES IN CONNECTION THEREWITH;
         AND (C) FILE THE ENGAGEMENT LETTERS UNDER SEAL

TO: Parties required to receive notice pursuant to DeL. Bank. LR 2002- 1.

                        The above-captioned debtors and debtors-in-possession (collectively, the

"Debtors") filed the attached Debtors' Motion for Entry of an Order Authorizing the Debtors to

(A) Enter Into Exit Financing Engagement Letters; (B) Pay Certain Fees and Expenses in

Connection Therewith and (C) File the Engagement Letters Under Seal (the "Motion") with the

1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W.
R. Grace & Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N
Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (flka Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (flka Grace Cocoa Limited Parters
I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Driling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdirgs, Inc. (f/a Dearborn International Holdirgs, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventues Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a
GHSC Holdirg, Inc., Grace WH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdirgs Corporation), MR Intermedco, Inc. (flka Nestor-
BNA, Inc.), MRA Staffng Systems, Inc. (f/k/a British Nursirg Association, Inc.), Remedium Group, Inc. (fla
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (f/k/a Cross Country
Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.



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United States Bankptcy Court for the District of                       Delaware, 824 Market Street, Wilmington,

Delaware 19801 (the "Banptcy Court"). A true and correct copy of                           the Motion is attached

hereto.

            Responses to the relief requested in the Motion, if any, must be in writing and be filed

with the Bankptcy Court no later than 4:00 p.m. (prevailing Eastern time) on February 5,

2010. At the same time, you must also serve a copy of                     the objections or responses, if any, upon

the following: (i) co-counsel for the Debtors, Theodore L. Freedman, Kirkland & Ellis LLP,

Citigroup Center, 601 Lexington Avenue, New York, NY 10022-4611 (fax number 212-446-

4800), Janet S. Baer, The Law Offces of Janet S. Baer, P.C., 70 West Madison Street, Suite

2100, Chicago, IL 60602 (Fax number 312-641-2165); and James E. O'Neill, Pachulski Stang

Ziehl & Jones LLP, 919 North Market Street, 1 ih Floor, PO. Box 8705, Wilmington, DE

19899-8705 (Courer 19801) (fax number 302-652-4400); (ii) counsel to the Offcial Committee

of   Unsecured Creditors, Lewis Krger, Stroock & Stroock & Lavan, 180 Maiden Lane, New

York, NY 10038-4982 (fax 212-806-6006), and Michael R. Lastowski, Duane, Morrs &

Heckscher, LLP, 1100 N. Market Street, Suite 1200, Wilmington, DE 19801-1246 (fax 302-

657-4901); (iii) counsel to the Official Committee of                    Property Damage Claimants, Scott L.

Baena, Bilzin, Sumberg, Dunn, Baena, Price & Axelrod, First Union Financial Center, 200 South

Biscayne Boulevard, Suite 2500, Miami, FL 3313 1 (fax 305-374-7593), and Michael B. Joseph,

Ferry & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351, Wilmington, DE 19899 (fax

302-575-1714); (iv) counsel to the Offcial Committee of                      Personal Injury Claimants, Elihu

Inselbuch, Caplin & Drysdale, Chartered, 375 Park Avenue, 35th Floor, New York, NY 10152-

3500 (fax 212-644-6755), and Marla Eskin, Campbell & Levine, LLC, 800 N. King Street, Suite

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 300, Wilmington, DE 19801 (fax 302-426-9947); (v) counsel to the Offcial Committee of

Equity Holders, Thomas M. Mayer, Kramer Levin Naftalis & Frankel LLP, 919 Third Avenue,

New York, NY 10022 (fax 212-715-8000), and TeresaK.D. Currer, Saul Ewing LLP, 222

Delaware Avenue P.O. Box 1266, Wilmington, DE 19899-1397 (fax 302-421-6813);

(vi) counsel to the Future Claimants' Representative, Richard H. Wyron, Swidler Berlin Shereff

Friedman, LLP, 3000 K Street, NW, Suite 300, Washington, DC 20007 (fax 202-424-7643), and

John C. Phillips, Jr., Phillips, Goldman & Spence, P.A., 1200 North Broom Street, Wilmington,

DE 19806 (fax 302-655-4210); (vii) the Office ofthe United States Trustee, Attn: David

Klauder, 844 N. King Street, Wilmington, DE 19801 (fax 302-573-6497); and (viii) counsel to

the Property Damage Future Claimants' Representative, Karl Hill, Seitz, Van Ogtrop & Green,

P.A., 222 Delaware Avenue, Suite 1500, P.O. Box 68, Wilmington, DE 19899 (fax 302-888-

0606) and Alan B. Rich, Law Offce of Alan B. Rich, Esq., 1201 Main Street, Suite 1910, LB

201, Dallas, TX 75202 (fax 214-749-0325).

                  IF NO OBJECTIONS AR TIMELY FILED AND SERVED IN

ACCORDANCE WITH THIS NOTICE, THE BANKUPTCY COURT MAY GRANT THE

RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                  IN THE EVENT THAT AN OBJECTION OR RESPONSE IS FILED AND

SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARG ON THE MOTION WILL




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 BE HELD BEFORE THE HONORALE JUDITH K. FITZGERALD ON FEBRUARY 16,

 2010 AT 10:30 A.M., EASTERN TIME AT THE UNITED STATES BANKUPTCY COURT,

 824 MART STREET, WILMINGTON, DELAWAR 19801.


 Dated: January 15, 2010                     KILAN & ELLIS LLP
                                             Theodore L. Freedman
                                             David M. Bernick, P.C.
                                             Citigroup Center
                                             601 Lexington Ave.
                                             New York, New York 10022-4611
                                             Telephone: (212) 446-4800
                                             Facsimile: (212) 446-4900

                                             and

                                             THE LAW OFFICES OF JANET S. BAERP.C.
                                             Janet S. Baer, P.C.
                                             70 West Madison Street, Suite 2100
                                             Chicago, IL 60602
                                             Telephone: (312) 641-2162

                                             and




                                             Co-Counsel for the Debtors and Debtors in
                                             Possession




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